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JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

LISA SCHWAB-TROY,
PLAINTIFF

CASE NO: CV 21-456 MWF (MRWx)

ORDER FOR DISMISSAL WITH
PREJUDICE

vs.

inclusive,

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MEDICREDIT, INC; DOES 1-10
DEFENDANT(S)
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This matter is before the Court on the Parties’ Stipulation for Dismissal of Action
with Prejudice. That stipulation is approved. The entire action is hereby dismissed
with prejudice.

Dated: October 13, 2021 pSV Geode|
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MICHAEL W. FITZGERAY_D
United States District Judge

 
